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                           IN fl1kUN l'ItO             sTAIFS DISTRICT COURT
                                      souTHERN DISIR ter       or moil rm
                                         Case No,: 2:15-cv-i4200-MM

 JOSEPH POI ,TRACK,

         Plaintiff,

 V S.


 MAY TRANSPORTATION, INC.,
 a Florida Profit Corporation,

         Defendant,
                                           .a•Ld




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                                 .,  * 'ki       ,E. EN'
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 1„     'This Agreement covers all understandings between JOSEPH POUTRACK (hereinafter
        referred to as "Plaintiff" a term which includes Plaintiff's successors, assigns,
        beneficiaries, personal representatives, and heirs) and MAY TRANSPORTATION, INC,
        (hereinafter referred to as "Defendant," a term which includes each and every officer,
        directors employee, and agent, servants, legal representatives, and insurers), which relate,
        to the subject matter of the lawsuit JOSEPH !.%0LTRACK V. MAY
        fiRANSPORel'ATION, INC., et al., Case No.: 2:15-ev-14200-EM ("the lawsuit"),
        pending in the United States District Court for the Southern District of Florida.

 2.     For and in consideration of the promises outlined in Paragraph 3 of this Agreement,
        Plaintiff and Defendant agree as follow:

        A.       To settle all claims and actions between Plaintiff and Defendant which are the
                 subject matter of the lawsuit or could have been raised in the lawsuit and release
                 and forever discharge the other from all and any manner of actions, causes of
                 actions, suits, rights to attorney fees, debts, claims and demands whatsoever in
                 law or equity whether known or unknown to the parties.
        14.     To agree to facilitate the dismissal of the lawsuit with prejudice.

        C.      To agree and acknowledge that this statement does not constitute an admission
                by Defendant of any violation of any federal, state, or local statute or regulation,
                or any violation of any of Plaintitrs rights or of any duty owed by Defendant to
                P lal ntl IT.

        D.      Not to disclose the terms of this Agreement to anyone except either party's
                attorneys and tax advisors or as compelled by force of law. In the event that
                either party is compelled by force of law to disclose the terms of this Agreement,
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                   that party agrees that notice of receipt of the judicial order or subpoena shall be
                   immediately communicated to other party so that the party will have the
                   opportunity to assert what rights they may have in non-disclosure prior to any
                   response to the order or subpoena. Furthermore, the parties agree not to disparage
                   or communicate negatively about the other.

            For and in consideration of the promises outlined in Paragraph 2 of this Agreement,
            Defendant agrees as follows:

            In consideration for Plaintiff's claims in the lawsuit, Defendant has paid and the Plaintiff
            acknowledges receipt of the aggregate amount of $10,954.00, which shall be allocated as
            $3,505.00 for Plaintifrs alleged unpaid overtime, an additional $3, 50.5.00 for Plaintiff's
            alleged liquidated damages, and $3,935A)0 for Plaintiff's alleged reasonable attorney's
            fees and costs. Said amounts represent an uncompromised full recovery for the Plaintiff,
            which the parties stipulate as such.

       4.   The parties agree and acknowledge that this Agreement must he filed for review and
            approval by the Court in ac,,cordance with Lynn's_ FRO.,..,%andaLialnitss.., 679
            P.2d 1350 (Ilth Cir. 1982).

       5.   No 1,,avv,alkor Claims.

            Plaintiff represents and agrees that he will not hereafter pursue, initiate, or cause to be
            instituted against Defendant or any party released herein, any dispute that is released
            herein, Plaintiff further represents that he does not currently have pending before any
            court or before any federal, state or local agency any dispute of any kind against
            Defendant, other than the lawsuit, If it is determined that Plaintiff has any other lawsuit,
            charge of discrimination, or other claim pending against Defendant, Plaintiff agrees to
            dismiss any such claims, with prejudice, immediately upon determining that such charge
            or claim is pending.

       6.              ivlut I RskassfAliffairm.
            Full WAygutd_p_a_

            In exchange for the consideration described in this Agreement, the parties irrevocably,
            knowingly, and voluntarily releases, waives, and forever discharges each other from any
            and all claims, demands, actions, or causes of action, of any kind whatsoever, known or
            unknown, foreseen or unforeseen, foreseeable or unforeseeable, and any consequences
            thereof, which they may have against each other from the beginning of the world until the
            effective date of this Agreement. The disputes released by Plaintiff include, but are not
            limited to, any and all disputes against Defendant concerning his employment, wages,
            and separation from employment with Defendant, pursuant to any federal, state, or local
            civil or human rights law or any other federal, state, or local law, regulation, or
            ordinance.

            The disputes released by the parties also include any and all disputes they believe to have
            against each other in contract or at common law, including, but not limited to, breach of
            oral, written and/or implied contract, an implied covenant of good faith and fair dealing,
            wrongful discharge under any theory, including for lack of good cause, in violation of
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              public policy, and constructive discharge, intentional and negligent infliction of
              emotional distress, any tort action, negligent retention and supervision, assault, battery,
              negligence, misrepresentation or fraud of any kind, duress, unfair dealing, breach of
              fiduciary or other duty, invasion of privacy, defamation, false imprisonment, and
              interference with contract and/or prospective economic advantage.

       7.     No lzumamploymerg,

              Plaintiff further agrees that he will never sock employment or reinstatement of his
              employment with Defendant. Plaintiff also agrees that should he breach this provision of
              the Agreement in that he seeks reemployment or reinstatement and, thereafter, files any
              type of administrative or legal action, that such administrative or legal action shall be
              immediately dismissed with prejudice, that Defendant shall be entitled to an injunction
              barring such action, and that the prevailing party shall be entitled to recover its attorneys'
              fees and costs.
       8.     In the event that Plaintiff or Defendant commence(s) an action for damages or injunction
              to enforce the provisions of the Agreement, the prevailing party in any such action shall
              be entitled to an award of his/their reasonable attorney's fees and all costs including
              appellate fees and costs incurred in connection therewith as determined by the court in
              any such action.

       9.     No cancellation, modification, amendment, deletion, addition, or other changes in this
              Agreement or any provision hereof or any right herein provided shall be effective for any
              purpose unlms specifically set forth in a subsequent written reernent signed by both
              Plaintiff and Defendant,

       10.    This Agreement may be extxuted in counterparts.

       11.    Should any provision of this Agreement be declared or determined by any court of
              competent jurisdiction to be illegal or invalid, the validity of the remaining parts, terms or
              provisions shall not be affected thereby and said illegal or invalid part, term or provision
              shall be deemed not to be a part of the Agreement and all other valid provisions shall
              survive and continue to bind the parties.

       12.    The law governing this Agreement shall be that of the United States and the State of
              Florida.
                                                           ;                     ,
       DATE:„,..Y     '              Signature:
                                                     JOSEPH POL ' ACK, Plaintiff
                                                            )

       DATE: * ,,,k ' 05—            Signature:
                                                     John Be encourt
                                                     Owner MAY TRANSPOR. rATION,
                                                     Defendant
